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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


BELCALIS MARLENIS ALMÁNZAR,

                         Plaintiff,
        v.                                      Case No. 1:19-cv-01301-WMR

LATASHA TRANSRINA KEBE a/k/a
LATASHA TRANSRINA HOWARD and
KEBE STUDIOS LLC,

                         Defendants.


                        NOTICE OF MANUAL FILING

      Please take notice that Plaintiff Belcalis Marlenis Almánzar (“Plaintiff”) has

manually filed the following video files, which are referenced as Exhibit E in

connection with Plaintiff’s motion for summary judgment:

      CARDI VIDEO 4
      CARDI VIDEO 6 (Ex. 12 to Kebe Dep.)
      CARDI VIDEO 7
      CARDI VIDEO 16
      CARDI VIDEO 20 (Ex. 6 to Kebe Dep.)
      CARDI VIDEO 21 (Ex. 11 to Kebe Dep.)
      CARDI VIDEO 33 (Ex. 17 to Kebe Dep.)
      CARDI VIDEO 34
      CARDI VIDEO 43
      CARDI VIDEO 45
      CARDI VIDEO 46
      CARDI VIDEO 47
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      CARDI VIDEO 63 (Ex. 23 to Kebe Dep.)
      CARDI VIDEO 80 (Ex. 22 to Kebe Dep.)
      CARDI VIDEO 83
      CARDI VIDEO 85 (Ex. 28 to Kebe Dep.)
      CARDI VIDEO 88 (Ex. 21 to Kebe Dep.)
      CARDI VIDEO 101 (Ex. 25 to Kebe Dep.)
      CARDI VIDEO 116
      CARDI VIDEO 132

These files have been served on all parties.



Dated: December 30, 2020               Respectfully submitted,

                                       /s/ W. Andrew Pequignot
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                                       W. Andrew Pequignot (Bar No. 424546)
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